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                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF VIRGINIA
                                         NORFOLK DIVISION

 CHRIS SWAIN,

    Plaintiff,
                                                       CASE NO.: 2:17-CV-00104-MSD-LRL
 -vs-

 VERIZON COMMUNICATIONS, INC.,

   Defendant.


                                         NOTICE OF SETTLEMENT

        Plaintiff, Chris Swain, by and through the undersigned counsel, hereby notifies the Court that the

parties have reached a settlement with regard to this case and are presently drafting and finalizing the

settlement agreement, and general release or documents. Upon execution of the same, the parties will file

the appropriate dismissal documents with the Court.

Dated this 25th day of May, 2017.

                                                   /s/
                                                   Hyatt B. Shirkey, Esquire (VSB#80926)
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                                                   Counsel for Plaintiff Chris Swain
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                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this _25th___ day of May, 2017 a true and correct copy of the

foregoing has been filed with the Court’s CM/ECF system which sent electronic to notice to all parties of

record including:

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                                                   /s/
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